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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS

Mason Woolley )
434 N Pleasant Street )
Amherst, Massachusetts 01003 )
)
Plaintiff, ) Civil Action No:

) 3:19-cv-30004-MGM
V. )
University of Massachusetts )
181 President’s Drive )
Amherst, Massachusetts; )
)
)
)
)
)
)
Defendants, )

 

. AFFIDAVIT
LM\icHee\ K Buscest, affirm the following is true.

| served in hand a complaint, electronic order, a motion and memorandum to the University of
Massachusetts office of the general counsel tolavtaSksn located in Whitmore Administration
building on the university of Massachusetts campus in Amherst, Massachusetts . | completed this
informal service on this date 2/13/2019 at {Oia awn ,

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| certify that the contents of this affidavit signed by me are true.
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